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                  UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

Donald Benjamin Walls, II,

                   Plaintiff,

      v.                                       Civil No.: 12-2623 (PAM/SER)

Jamiel Mohammad, individually, and in
his official capacity as a City of
Minneapolis Police Officer; Deitan Dubuc,
individually and in his official capacity as
a City of Minneapolis Police Officer, and
the City of Minneapolis,

                 Defendants.
________________________________________________________________________

                          DEFENDANTS’ TRIAL BRIEF

A.    Trial counsel for all Defendants:

      Burt T. Osborne (No. 250363)
      Brian S. Carter (No. 390613)
      Minneapolis City Attorney’s Office
      350 South 5th Street, Room 210
      Minneapolis, MN 55415
      Telephone: (612) 673-3847 (Burt Osborne)
                   (612) 673-2063 (Brian Carter)
      Email:       burt.osborne@minneapolismn.gov
                   brian.carter@minneapolismn.gov

B.    Jury or Bench Trial: This case is to be tried by jury.

C.    Length of Trial: Defendants estimate that the trial will last two to three
      days.

D.    Jurisdiction: This lawsuit includes federal civil rights claims brought
      under 42 U.S.C. § 1983. It also includes state law claims of assault, battery,
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      and vicarious liability. This Court has federal-question jurisdiction over
      the federal claims pursuant to 28 U.S.C. § 1331 and it has supplemental
      jurisdiction over the state-law claims pursuant to 28 U.S.C. § 1367.

E.    Facts:

      At around 3:30 a.m. on June 8, 2009, Plaintiff and his friends were having a

loud party in two rooms at the Hotel Minneapolis (“the Hotel”) in downtown

Minneapolis. The party was taking place after Plaintiff’s rap performance at the

Visage nightclub in downtown Minneapolis, where Plaintiff had consumed

several alcoholic drinks. The Hotel’s staff received a complaint from a guest

about the noise from Plaintiff’s party. The Hotel’s manager, Bradley Hise, went

to Plaintiff’s room and asked Plaintiff and his friends to quiet down. (Hise Dep.

8.)1 Plaintiffs and his friends did not quiet down, and, after Hise returned

downstairs, he received another complaint about the noise from a Hotel guest.

Hise returned to Plaintiff’s room and told Plaintiff that he and his friends would

have to quiet down or they would be removed from the Hotel. (Hise 8.) Plaintiff

responded, “Well, how are you going to do that?” Hise told Plaintiff that he

would involve the police if necessary. Plaintiff responded, “If you get the police

involved, I’m going to kick your ass.” (Hise 9.)




1     Defendants have not attached documents and transcripts to this
memorandum. If the Court requires any of the cited documents Defendants can
provide them in whatever form the Court wishes.
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      In response to Plaintiff’s threats and refusal to cooperate, Hise called 911

and asked the police to remove Plaintiff and his friends from the Hotel. At

3:33 a.m., Minneapolis Police Officers Jamiel Mohammad and Deitan Dubuc,

were dispatched to the Hotel in response to Hise’s 911 call. (CAPRS Case Report

4.) When the Officers arrived at the Hotel they spoke with Hise who told them

that there were five to eight individuals on the seventh that he wanted escorted

off of the property. When the Officers and Hise got to the seventh floor they saw

Plaintiff walk out of a room and into the hallway. Hise told the Officers that

Plaintiff was causing most of the problems and that Plaintiff had threatened “to

kick [Hise’s] ass.” The Officers told Plaintiff that he had to leave the Hotel’s

property. The Officers explained that the Hotel’s staff wanted him to leave and

that, because the Hotel was private property, Plaintiff had to leave. (Id.) After

being told by the Officers that he was the problem and to leave, Plaintiff

attempted to convince the Officers to let him stay in the other room that one of

Plaintiff’s friends had rented. After being told repeatedly that he had to leave,

Plaintiff finally went downstairs.

      The Officers then made sure that the rooms were cleared out and went

downstairs with Hise. The Officers and Hise waited at the Hotel’s main entrance

where a set of sliding doors leads to the Hotel’s driveway. The portion of the




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driveway to which the main doors lead is covered by an awning that extends all

of the way across the driveway.

      After Plaintiff went downstairs, he got into a car that was parked in the

Hotel’s driveway with some friends. The Officers and Hise then observed

Plaintiff exit the car and walk toward the hotel entrance. Hise told the Officers

that he did not want Plaintiff on the property. Officer Mohammad then walked

toward Plaintiff and told him that he had to leave the Hotel’s property. Plaintiff

was talking on his phone and ignored Officer Mohammad. Officer Mohammad

knew Plaintiff heard his instructions because he was only ten feet away from

Plaintiff and Officer Mohammad saw Plaintiff look at him when he told Plaintiff

to leave. Plaintiff continued to ignore Officer Mohammad as the Officer

instructed him to leave a second time. Officer Mohammad then walked toward

Plaintiff to escort him back to the car. When Officer Mohammad walked into

Plaintiff’s path, Plaintiff stepped toward Officer Mohammed and was going to

walk into him. Officer Mohammad pushed Plaintiff to prevent plaintiff from

walking into him.

      Plaintiff immediately took a bladed “boxer’s” stance and raised his fists as

if he were preparing to fight. Plaintiff shouted “don’t fucking push me” at

Officer Mohammad. Because of Plaintiff’s statement and stance, Officer Dubuc

believed that Plaintiff was about to assault Officer Mohammad. Officer Dubuc


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then moved to where Plaintiff was standing, grabbed Plaintiff’s shoulder and

shirt and pulled him to the ground so that Plaintiff landed on his side. Both

Officers then attempted to handcuff Plaintiff. Plaintiff actively resisted their

attempts to place his hands behind his back and he attempted to stand up. While

the Officers were struggling with Plaintiff they had their backs to Plaintiff’s

friends who were attempting to move toward Plaintiff and the Officers,

presumably to defend Plaintiff. By that time a third Officer, Marjane

Khazraeinazmpur, had arrived and was helping Officers Dubuc and

Mohammad.

      As Officer Mohammad continued to struggle to handcuff Plaintiff, he

decided to take further action to restrain Plaintiff. Officer Mohammad sprayed a

short burst of his department-issued pepper spray into Plaintiff’s face. After the

pepper spray was used, Plaintiff became compliant and the Officers were able to

handcuff him quickly and put him into the back of a squad car. After Plaintiff

was subdued, his friends continued to walk toward the Officers. Officer

Mohammad had to order them to back away and was compelled to push some of

them to maintain distance between himself and Plaintiff’s friends.

      Plaintiff was offered medical care by the Officers, but he refused it.

      After his arrest, Plaintiff was booked into jail and released that same day.




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F.    Claims or Defenses

      The Officers’ use of force was objectively reasonable. According to the

Supreme Court’s standard in Graham v. Connor, three factors should be

considered in determining whether an officer has reasonably used force: (1) the

severity of the crime at issue; (2) whether the suspect poses an immediate threat

to the safety of the officers or others; and (3) whether the suspect is actively

resisting arrest or attempting to evade arrest by flight. Graham v. Conner, 490 U.S.

386, 396 (1989). These factors must be considered from the “perspective of a

reasonable officer at the scene, rather than with the 20/20 vision of hindsight.”

Id. Additionally, while the Graham factors must be considered, it cannot be lost

that the reasonableness of an officer’s use of force is ultimately determined by

assessing the totality of the circumstances. Foster v. Metro. Airports Comm’n, 914

F.2d 1076, 1081 (8th Cir. 1990) (“The question for the jury is whether, judging

from the perspective of a reasonable officer at the scene of the arrest, the totality

of the circumstances justifies the use of the force used.”)

      The totality of the circumstances renders Officers Dubuc’s and

Mohammad’s uses of force reasonable. Plaintiff was attempting to reenter the

Hotel, ignored Officer Mohammad’s instructions that he had to leave the Hotel’s

property, and was going to step into Officer Mohammad when Officer

Mohammad walked in front of Plaintiff. Officer Mohammad’s push was


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therefore objectively reasonable. After being shoved, Plaintiff took a fighting

stance and threatened to attack Officer Mohammad. Officer Dubuc’s use of force

to prevent this from happening was therefore reasonable. After Plaintiff was

pulled to the ground, he actively resisted the Officers’ attempts to restrain him.

Plaintiff resisted the Officers’ attempts to place his hands behind his back and he

attempted to stand. During the struggle, Plaintiff’s friends were behind the

Officers and moving toward them. The situation was rapidly evolving and the

Officers were outnumbered. Officer Mohammad’s use of pepper spray was

therefore a reasonable way to quickly subdue Plaintiff with little risk of injury to

Plaintiff. For these same reasons, Plaintiff’s state-law assault and battery claims

fail. Further, the Officers have official immunity regarding those claims.

G.    Unresolved Issues

      1.    Defendants filed motions in limine seeking to exclude the following
      evidence:

      Defendants’ Motion in Limine No. 1: Exclusion of the testimony of
      Plaintiff’s force expert, William T. Gaut.

      Defendants’ Motion in Limine No. 2: Exclusion of the testimony of
      Plaintiff’s treating physician, Bangean K. Abdullah.

      Defendants’ Motion in Limine No. 3: Inadmissibility of Minneapolis Police
      Department policies.

      Defendants’ Motion in Limine No. 4: Admissibility of Minneapolis Police
      Department Reports.



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     Defendants’ Motion in Limine No. 5: Exclusion of argument, evidence, or
     testimony about any public ownership or interest in the Minneapolis
     Hotel’s driveway.

     Defendants’ Motion in Limine No. 6: Exclusion of all evidence of Plaintiff’s
     alleged sophisticate medical conditions.

     Defendants’ Motion in Limine No. 7: Exclusion of three pepper spray
     documents.

     2.    Plaintiff filed a motion in limine seeking to exclude the following
     evidence:

     Plaintiff’s Motion in Limine No. 1: Exclusion of Minneapolis Police
     Department police records and jail records relating to Plaintiff.

     3.    The parties have yet to agree on a final Special Verdict Form.

Dated: March 24, 2014                SUSAN L. SEGAL
                                     City Attorney
                                     By

                                     /s Brian S. Carter
                                     BURT T. OSBORNE (#250363)
                                     Assistant City Attorney
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